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                        EXHIBIT A
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Attorneys for Plaintiff(s)

 AILENE CABRERA,                   :       SUPERIOR COURT OF NEW JERSEY
                                   :       LAW DIVISION: MIDDLESEX COUNTY
                       Plaintiff,  :
        v.                         :       CASE TYPE: MCL NO. 628
                                   :
 SANOFI S.A.;                      :       MASTER DOCKET NO.
 AVENTIS PHARMA S.A.;              :       MID-L-4998-18-CM
 SANOFI U.S. SERVICES INC.,        :
 formerly known as SANOFI-AVENTIS  :
 U.S. INC.;                        :       DOCKET NO. MID-L-
 SANOFI-AVENTIS U.S. LLC,          :
 separately and doing business as  :
 WINTHROP U.S.;                    :
 SANDOZ, INC.;                     :                   CIVIL ACTION
 HOSPIRA, INC.;                    :            IN RE TAXOTERE LITIGATION
 HOSPIRA WORLDWIDE, LLC formerly   :
 known as HOSPIRA WORLDWIDE, INC.; :
 ACCORD HEALTHCARE, INC.;          :
 MCKESSON CORPORATION doing        :
 business as MCKESSON PACKAGING;   :
 SUN PHARMA GLOBAL FZE;            :
 SUN PHARMACEUTICAL INDUSTRIES, :             THIRD AMENDED MASTER SHORT
 INC. formerly known as CARACO     :                FORM COMPLAINT
 PHARMACEUTICAL LABORATORIES, :                      & JURY DEMAND
 LTD.;                             :
 ACTAVIS LLC formerly known as     :
 ACTAVIS INC.;                     :
 ACTAVIS PHARMA, INC.;             :
 PFIZER, INC.;                     :
 SAGENT PHARMACEUTICALS INC.;      :
 AND                               :
 JOHN DOE DRUG COMPANY             :
 DEFENDANTS #1-10,                 :
                                   :
                       Defendants. :
                                   :
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      Plaintiff, AILENE CABRERA , complaining against the Defendants, allege as follows:

 1.    Pursuant to the Master Pleading Implementation Order, entered in the In Re Taxotere

       Litigation, Master Case No. MID-L-4998-18-CM, Case No. 628, the undersigned counsel

       hereby submit this Third Amended Master Short Form Complaint and Jury Demand

       against the Defendants. Plaintiff hereby adopts and incorporates by reference the Third

       Amended Master Long Form Complaint and Jury Demand filed in the above-referenced

       case. This Master Short Form Complaint adopts allegations and encompasses claims as

       well as any amendments as set forth in the Third Amended Master Long Form Complaint

       against Defendant(s) by reference.

      Plaintiff further alleges as follows:

 2.      Plaintiff:

         AILENE CABRERA

 3.      Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss
         of consortium):

          N/A

 4.      Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,
         conservator):

         N/A

 5.      Current State of Residence: Florida

 6.      State in which Plaintiff alleges injury: Florida

 7.      Defendants (check all Defendants against whom a Complaint is made):

         a.      Taxotere Brand Name Defendants:

                         A.      Sanofi U.S. Services Inc., formerly known as Sanofi-Aventis U.S.
                                 Inc.




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                        B.         Sanofi-Aventis U.S. LLC separately and doing business as
                                   Winthrop U.S.

                        C.         Sanofi S.A.

                        D.         Aventis Pharma S.A.


         b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors, and John Doe
                Defendants:

                        A.         Winthrop U.S.

                        B.         Sandoz, Inc.

                        C.         Accord Healthcare, Inc.

                        D.         McKesson Corporation doing business as McKesson Packaging

                        E.         Hospira Worldwide, LLC formerly known as Hospira Worldwide,
                                   Inc.
                        F.         Hospira, Inc.

                        G.         Sun Pharma Global FZE

                        H.         Sun Pharmaceutical Industries, Inc. formerly known as Caraco
                                   Pharmaceutical Laboratories, Ltd.

                        I.         Pfizer, Inc.

                        J.         Actavis LLC formerly known as Actavis Inc.

                        K.         Actavis Pharma, Inc.

                        L.         Sagent Pharmaceuticals, Inc.

                        M.         John Doe Drug Company Defendants #1-10, who are persons,
                                   individuals, and/or entities who are liable and/or responsible for
                                   Plaintiff’s/Plaintiffs’ damages, but who have not been identified.

                        N.         Other:

         Basis for Jurisdiction:

         A.     Paragraphs in Master Complaint upon which venue and jurisdiction lie:




                                                   3
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         Paragraphs 9-148.




         B.        Other allegations of jurisdiction and venue:

         N/A




 8.      Brand Product(s) used by Plaintiff (check applicable):

                   A.     Taxotere

                   B.     Docefrez

                   C.     Docetaxel Injection

                   D.     Docetaxel Injection Concentrate

                   E.     Unknown

                   F.     Other:

 9.      First date and last date of use (or approximate date range, if specific dates are unknown)
         for Products identified in question 8:

         1/22/2013 and 3/26/2013, approximate.

 10.     State in which Product(s) identified in question 8 was/were administered:

         Florida

 11.     Nature and extent of alleged injury (including duration, approximate date of onset (if
         known), and description of alleged injury):

         EXTENSIVE ALOPECIA, DOES NOT CURRENTLY RECALL DATE OF ONSET,
         UNTIL PRESENT.




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 12.     Counts in Master Complaint brought by Plaintiff:

                   Count I – Failure to Warn Under New Jersey Products Liability Act




                   Count II – Strict Products Liability – Design and Manufacturing Under New
                   Jersey Products Liability Act

                   Count III – Breach of Express Warranty – Sanofi S.A., Aventis Pharma S.A.,
                   Sanofi U.S. Services Inc., formerly known as Sanofi-Aventis U.S. Inc., and
                   Sanofi-Aventis U.S. LLC, separately and doing business as Winthrop US

                   Count IV – Breach of Express Warranty – Sandoz, Inc.

                   Count V – Breach of Express Warranty – Hospira, Inc., and Hospira
                   Worldwide, LLC formerly known as Hospira Worldwide, Inc.

                   Count VI – Breach of Express Warranty – Accord Healthcare, Inc. and
                   McKesson Corporation doing business as McKesson Packaging

                   Count VII – Breach of Express Warranty – Sun Pharma Global FZE and Sun
                   Pharmaceutical Industries, Inc. formerly known as Caraco Pharmaceutical
                   Laboratories, Ltd

                   Count VIII – Breach of Express Warranty – Actavis Pharma, Inc.; Actavis
                   LLC formerly known as Actavis Inc.; and Sagent Pharmaceuticals, Inc.



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                      Count IX – Breach of Express Warranty – Pfizer, Inc.

                      Count X – Loss of Consortium

                      Other: Plaintiff(s) may assert the additional theories and/or State Causes of
                      Action against Defendant(s) identified by selecting “Other” and setting forth
                      such claims below. If Plaintiff(s) includes additional theories of recovery, the
                      specific facts and allegations supporting additional theories must be pleaded
                      by Plaintiff in sufficient detail.




                      Jury Trial is Demanded as to All Counts

                      Jury Trial is NOT Demanded as to Any Count

 13.       Plaintiff has suffered and will continue to suffer pain, suffering, disability, impairment,

           loss of enjoyment of life, inability to engage in chosen and necessary activities, and/or

           economic damages, as a result of the administration of the designated product(s).


       WHEREFORE, Plaintiff(s) demand(s) Judgment against the Defendants awarding

compensatory damages, attorney’s fees, interest, costs of suit and such further relief as the Court

deems equitable and just.


Dated: May 27, 2020                                  BURNETT LAW FIRM


                                              By:
                                                     Karen Beyea-Schroeder, Esq.
                                                     NJ Bar No.023131997
                                                     3737 Buffalo Speedway, Ste. 1850
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                                                     Tel: (832) 413-4410
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                                                     Karen.Schroeder@RBurnettLaw.com
                                                     Attorneys for Plaintiff(s)



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                               DESIGNATION OF TRIAL COUNSEL


       Pursuant to New Jersey Court Rule 4:25-4, KAREN BEYEA-SCHROEDER is hereby

designated as trial counsel.


                                          By:
                                                Karen Beyea-Schroeder, Esq.
                                                NJ Bar No.023131997
                                                BURNETT LAW FIRM
                                                3737 Buffalo Speedway, Ste. 1850
                                                Houston, TX 77098
                                                Tel: (832) 413-4410
                                                Fax: (832) 900-2120
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                                                Attorneys for Plaintiff(s)




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                                  RULE 4:5-1 CERTIFICATION

        I hereby certify that to the best of my knowledge the matter in controversy is the subject of

numerous other actions filed in the Superior Court, all of which are consolidated and designated

as and under Master Docket No. MID-L-4998-18-CM, and that no other parties are necessary to

join at this time.

        I certify that the dispute about which I am suing is not the subject of any other action

pending in any other court or a pending arbitration proceeding to the best of my knowledge and

belief. Also, to the best of my knowledge and belief no other action or arbitration proceeding is

contemplated. Further, other than the parties set forth in this complaint, I know of no other parties

that should be made a part of this lawsuit. In addition, I recognize my continuing obligation to file

and serve on all parties and the court an amended certification if there is a change in the facts stated

in this original certification.



Dated: May 27, 2020                                     BURNETT LAW FIRM


                                                By:
                                                        Karen Beyea-Schroeder, Esq.
                                                        NJ Bar No.023131997
                                                        3737 Buffalo Speedway, Ste. 1850
                                                        Houston, TX 77098
                                                        Tel: (832) 413-4410
                                                        Fax: (832) 900-2120
                                                        Karen.Schroeder@RBurnettLaw.com
                                                        Attorneys for Plaintiff(s)




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                                                              Appendix XII-B1
                                                                                                            FOR USE BY CLERK’S OFFICE ONLY
                                  CIVIL CASE INFORMATION STATEMENT                                         PAYMENT TYPE:       CK       CG     CA

                                                             (CIS)                                         CHG/CK NO.

                                              Use for initial Law Division                                 AMOUNT:
                                Civil Part pleadings (not motions) under Rule 4:5-1
                            Pleading will be rejected for filing, under Rule 1:5-6(c),                     OVERPAYMENT:
                             if information above the black bar is not completed
                                       or attorney’s signature is not affixed                              BATCH NUMBER:

 ATTORNEY / PRO SE NAME                                           TELEPHONE NUMBER               COUNTY OF VENUE
  Karen Beyea-Schroeder                                            (832) 413-4410                Middlesex
 FIRM NAME (if applicable)                                                                       DOCKET NUMBER (when available)
  Burnett Law Firm
 OFFICE ADDRESS                                                                                  DOCUMENT TYPE
  3737 Buffalo Speedway                                                                          Complaint
  Suite 1850
  Houston, TX 77098                                                                              JURY DEMAND         ■   YES            NO

 NAME OF PARTY (e.g., John Doe, Plaintiff)                 CAPTION
 Ailene Cabrera, Plaintiff                                 AILENE CABRERA v. SANOFI U.S. SERVICES INC., formerly known
                                                           as SANOFI-AVENTIS U.S. INC.; et al.

  CASE TYPE NUMBER                 HURRICANE SANDY
 (See reverse side for listing)    RELATED?                IS THIS A PROFESSIONAL MALPRACTICE CASE?                      YES        ■   NO

  606
                                       YES    ■     NO     IF YOU HAVE CHECKED “YES,” SEE N.J.S.A. 2A:53 A -27 AND APPLICABLE CASE LAW
                                                           REGARDING YOUR OBLIGATION TO FILE AN AFFIDAVIT OF MERIT.
 RELATED CASES PENDING?                                    IF YES, LIST DOCKET NUMBERS
           ■   YES                     NO                  see below
  DO YOU ANTICIPATE ADDING ANY PARTIES                     NAME OF DEFENDANT’S PRIMARY INSURANCE COMPANY (if known)
 (arising out of same transaction or occurrence)?                                                                                       NONE
               YES                 ■   NO                                                                                       ■       UNKNOWN

               THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE.
 CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION
 DO PARTIES HAVE A CURRENT, PAST OR                      IF YES, IS THAT RELATIONSHIP:
 RECURRENT RELATIONSHIP?                                     EMPLOYER/EMPLOYEE             FRIEND/NEIGHBOR           OTHER (explain)
           YES          ■ NO                                 FAMILIAL                      BUSINESS

 DOES THE STATUTE GOVERNING THIS CASE PROVIDE FOR PAYMENT OF FEES BY THE LOSING PARTY?                               YES        ■       NO
 USE THIS SPACE TO ALERT THE COURT TO ANY SPECIAL CASE CHARACTERISTICS THAT MAY WARRANT INDIVIDUAL MANAGEMENT OR
 ACCELERATED DISPOSITION
 This is a pharmaceutical defect case against NJ-based companies for which there is an MCL before Judge Hyland.




           DO YOU OR YOUR CLIENT NEED ANY DISABILITY ACCOMMODATIONS?          IF YES, PLEASE IDENTIFY THE REQUESTED ACCOMMODATION
              YES              ■ NO
           WILL AN INTERPRETER BE NEEDED?                                     IF YES, FOR WHAT LANGUAGE?
              YES              ■ NO
 I certify that confidential personal identifiers have been redacted from documents now submitted to the court, and will be
 redacted from all documents submitted in the future in accordance with Rule 1:38-7(b).

 ATTORNEY SIGNATURE:




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  Side 2
                                       CIVIL CASE INFORMATION STATEMENT
                                                                            (CIS)
                                                   Use for initial pleadings (not motions) under Rule 4:5-1


 CASE TYPES (Choose one and enter number of case type in appropriate space on the reverse side.)
          Track I - 150 days' discovery
             151    NAME CHANGE
             175    FORFEITURE
             302    TENANCY
             399    REAL PROPERTY (other than Tenancy, Contract, Condemnation, Complex Commercial or Construction)
             502    BOOK ACCOUNT (debt collection matters only)
             505    OTHER INSURANCE CLAIM (including declaratory judgment actions)
             506    PIP COVERAGE
             510    UM or UIM CLAIM (coverage issues only)
             511    ACTION ON NEGOTIABLE INSTRUMENT
             512    LEMON LAW
             801    SUMMARY ACTION
             802    OPEN PUBLIC RECORDS ACT (summary action)
             999    OTHER (briefly describe nature of action)



          Track II - 300 days' discovery
             305    CONSTRUCTION
             509    EMPLOYMENT (other than CEPA or LAD)
             599    CONTRACT/COMMERCIAL TRANSACTION
             603N   AUTO NEGLIGENCE – PERSONAL INJURY (non-verbal threshold)
             603Y   AUTO NEGLIGENCE – PERSONAL INJURY (verbal threshold)
             605    PERSONAL INJURY
             610    AUTO NEGLIGENCE – PROPERTY DAMAGE
             621    UM or UIM CLAIM (includes bodily injury)
             699    TORT – OTHER
          Track III - 450 days' discovery
             005    CIVIL RIGHTS
             301    CONDEMNATION
             602    ASSAULT AND BATTERY
             604    MEDICAL MALPRACTICE
             606    PRODUCT LIABILITY
             607    PROFESSIONAL MALPRACTICE
             608    TOXIC TORT
             609    DEFAMATION
             616    WHISTLEBLOWER / CONSCIENTIOUS EMPLOYEE PROTECTION ACT (CEPA) CASES
             617    INVERSE CONDEMNATION
             618    LAW AGAINST DISCRIMINATION (LAD) CASES
          Track IV - Active Case Management by Individual Judge / 450 days' discovery
             156    ENVIRONMENTAL/ENVIRONMENTAL COVERAGE LITIGATION
             303    MT. LAUREL
             508    COMPLEX COMMERCIAL
             513    COMPLEX CONSTRUCTION
             514    INSURANCE FRAUD
             620    FALSE CLAIMS ACT
             701    ACTIONS IN LIEU OF PREROGATIVE WRITS
          Multicounty Litigation (Track IV)
             271    ACCUTANE/ISOTRETINOIN                            292   PELVIC MESH/BARD
             274    RISPERDAL/SEROQUEL/ZYPREXA                       293   DEPUY ASR HIP IMPLANT LITIGATION
             281    BRISTOL-MYERS SQUIBB ENVIRONMENTAL               295   ALLODERM REGENERATIVE TISSUE MATRIX
             282    FOSAMAX                                          296   STRYKER REJUVENATE/ABG II MODULAR HIP STEM COMPONENTS
             285    STRYKER TRIDENT HIP IMPLANTS                     297   MIRENA CONTRACEPTIVE DEVICE
             286    LEVAQUIN                                         299   OLMESARTAN MEDOXOMIL MEDICATIONS/BENICAR
             287    YAZ/YASMIN/OCELLA                                300   TALC-BASED BODY POWDERS
             289    REGLAN                                           601   ASBESTOS
             290    POMPTON LAKES ENVIRONMENTAL LITIGATION           623   PROPECIA
             291    PELVIC MESH/GYNECARE                             624   STRYKER LFIT CoCr V40 FEMORAL HEADS



          If you believe this case requires a track other than that provided above, please indicate the reason on Side 1,
          in the space under "Case Characteristics.

               Please check off each applicable category                     Putative Class Action                  Title 59



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                        Civil Case Information Statement
 Case Details: MIDDLESEX | Civil Part Docket# L-003160-20

Case Caption: CABRERA AILENE VS SANOFI U.S.                      Case Type: TAXOTERE/DOCETAXEL
SERVICES , INC.                                                  Document Type: Complaint with Jury Demand
Case Initiation Date: 05/27/2020                                 Jury Demand: YES - 12 JURORS
Attorney Name: KAREN HOPE BEYEA-SCHROEDER                        Is this a professional malpractice case? NO
Firm Name: SCHROEDER LAW OFFICE, PLLC                            Related cases pending: NO
Address: PO BOX 131747                                           If yes, list docket numbers:
THE WOODLANDS TX 77393                                           Do you anticipate adding any parties (arising out of same
Phone: 8325859829                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Cabrera, Ailene
Name of Defendant’s Primary Insurance Company                    Are sexual abuse claims alleged by: Ailene Cabrera? NO

(if known): Unknown



      THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:
 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:


 Do you or your client need any disability accommodations? NO
        If yes, please identify the requested accommodation:


 Will an interpreter be needed? NO
          If yes, for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 05/27/2020                                                                   /s/ KAREN HOPE BEYEA-SCHROEDER
 Dated                                                                                                  Signed
